      Case 1:09-cr-00122-PB   Document 63   Filed 08/06/09   Page 1 of 1




                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIR E



United States of America

           V.                           Criminal No . 09-cr-122-04-J D

Zachary Patten



                                O R D E R



     The assented to motion to reschedule jury trial (document no .

61) filed by defendant Patten is granted ; the continuance is

limited to 90 days . Trial is also continued as to al l

co-defendants unless an objection is filed by August 12, 2009 .

     Defendant shall file a waiver of speedy trial rights within

10 days . The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public

and the defendant in a speedy trial, 18 U .S .C .                          ~

3161(h)(8)(B)(iv), for the reasons set forth in the motion .

     SO ORDERED .




                                        / s/ Joseph A . DiClerico, Jr .
                                        Joseph A . DiClerico, Jr .
                                        United States District Judg e

Date : August 6, 200 9


cc : Jonathan Saxe, Esq .
      Peter Papps, Esq .
      U .S . Marsha l
      U .S . Probation
